    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 1 of 80 PageID #: 4150



                       UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON


DON BLANKENSHIP,

              Plaintiff,

v.                                         Civil Action No. 2:19-cv-00236

ANDREW NAPOLITANO et al.,

              Defendants.


                        MEMORANDUM OPINION AND ORDER


              Pending are nineteen (19) motions to dismiss the First

Amended Complaint in this action pursuant to Rule 12(b)(2) for

lack of personal jurisdiction and/or Rule 12(b)(6) for failure

to state a claim.


                                I.    Background


              The plaintiff, Don Blankenship, initiated this action

on March 14, 2019 in the Circuit Court of Mingo County, West

Virginia, alleging claims of defamation and false light invasion

of privacy against several media organizations and reporters. 1


1 The plaintiff has named 105 individual and organizational
defendants across the United States, including media
organizations, political organizations, news anchors, news
reporters, writers, bloggers, and individuals involved in
politics. Approximately half of the named defendants have been
dismissed from the case so that fifty-two (52) named defendants
remain.
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 2 of 80 PageID #: 4151



See ECF No. 1.       The action was removed to this court pursuant to

28 U.S.C. § 1441 based on the original jurisdiction of this

court under 28 U.S.C. § 1332 (diversity of citizenship

jurisdiction). 2      Id.


              Following an explosion in a West Virginia mine on

April 5, 2010 that resulted in the death of twenty-nine (29)

miners, the United States government initiated an investigation

into the cause of the explosion.            See First Am. Compl., ECF No.

14 (“Compl.”) ¶¶ 136-41.         While the plaintiff was not charged

with the death of the miners, the government later charged the

plaintiff with three felonies, including conspiracy to defraud

the federal Mine Safety and Health Administration, and one

misdemeanor for conspiracy to violate federal mine safety laws. 3

See id. ¶ 141.       On December 3, 2015, a federal jury found the

plaintiff innocent of the felony charges but convicted him of

the misdemeanor offense.         Id. ¶ 143.    The plaintiff was

sentenced to one year in prison, which he served and from which

he was released in the spring of 2017.           Id. ¶¶ 144-45.



2 The plaintiff filed two similar cases alleging defamation and
false light invasion of privacy against a media outlet and
political figure that were removed to this court. See
Blankenship v. Boston Globe Media Partners, 2:19-cv-589;
Blankenship v. Trump, 2:19-cv-00549 (alleging the above claims
plus conspiracy to commit the same).
3 The criminal case in which the plaintiff was charged is United
States v. Blankenship, 5:14-cr-00244-1 before this court.


                                        2
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 3 of 80 PageID #: 4152



              In January 2018, the plaintiff announced his campaign

to run as a Republican for a United States Senate seat in West

Virginia.      Id. ¶ 146.    The plaintiff lost his bid for the

Republican party nomination in the primary election on May 8,

2018.     Id. ¶ 190.    The plaintiff alleges that media coverage was

responsible for his loss due to allegedly defamatory statements

about the plaintiff that referred to him as a “felon” or a

“convicted felon,” 4 despite the fact that he was cleared of the

felony charges and was only convicted of the misdemeanor

offense.      See id. ¶¶ 152-190.      The plaintiff further alleges

that there was an organized effort to defeat his campaign, in

part through the allegedly defamatory media coverage, see id.

¶¶ 150-90, and that the alleged defamatory media coverage

continued after the primary election, see id. ¶¶ 191-221.


              The plaintiff alleges that these defamatory statements

injured his reputation, prevented him from pursuing other

businesses and opportunities, and were a material cause of his

loss in the primary election.          Id. ¶¶ 24, 190.     In addition, the

plaintiff alleges that many of these statements were made in

conjunction with reference to the mine disaster and therefore

had the additional effect, through inference, implication,

innuendo and/or insinuation, of falsely attributing to him


4   The exact reference varies among the defendants.


                                        3
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 4 of 80 PageID #: 4153



responsibility for murder.         Id. ¶¶ 23, 228, 242.      The plaintiff

filed this suit alleging four causes of action: (1) defamation,

(2) conspiracy to defame the plaintiff, (3) false light invasion

of privacy, and (4) conspiracy to commit false light invasion of

privacy.      See id. ¶¶ 222-50.      Nineteen (19) motions to dismiss

have been filed by defendants under Rule 12(b)(2) for lack of

personal jurisdiction, under Rule 12(b)(4) and (5) for

insufficient service of process, and/or under Rule 12(b)(6) for

failure to state a claim upon which relief can be granted. 5


                             II.   Legal Standard


        A.    Rule 12(b)(2) Motion to Dismiss


              Rule 12(b)(2) permits a defendant to challenge a

complaint for “lack of personal jurisdiction.”             Fed. R. Civ. P.

12(b)(2).      When a district court considers a Rule 12(b)(2)

motion based on the contents of the complaint and supporting

affidavits without an evidentiary hearing, the party asserting

jurisdiction bears the burden of establishing a prima facie case

of jurisdiction.       Hawkins v. i-TV Digitalis Tavkozlesi zrt., 935


5 Five other motions to dismiss are moot because the named
defendants have been dismissed by court order or joint
stipulation. See ECF Nos. 181, 200, 210, 224, 254. In total,
all of the motions to dismiss represent forty-seven (47) of the
fifty-two (52) named defendants remaining in this case. The
following defendants did not file motions to dismiss: 35th Inc.;
Hayride Media, LLC; Jim Heath; Matt Howerton; and Chris Jones.


                                        4
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 5 of 80 PageID #: 4154



F.3d 211, 226 (4th Cir. 2019); Universal Leather, LLC v. Koro

AR, S.A., 773 F.3d 553, 558 (4th Cir. 2014).          The standard or

review is by a preponderance of the evidence.          Mylan Labs., Inc.

v. Akzo, N.V., 2 F.3d 56, 60 (4th Cir. 1993).          The court may

consider affidavits submitted by both parties, but it must

resolve factual disputes and draw all reasonable inferences in

favor of the party asserting jurisdiction.         Universal Leather,

773 F.3d at 560; Combs v. Bakker, 886 F.2d 673, 676 (4th Cir.

1989) (“[T]he court must construe all relevant pleading

allegations in the light most favorable to the plaintiff, assume

credibility, and draw the most favorable inferences for the

existence of jurisdiction.”).       The court must then determine

whether the facts proffered by the party asserting jurisdiction

make out a case of personal jurisdiction over the party

challenging jurisdiction.      Sneha Media & Entm’t, LLC v.

Associated Broad. Co. P Ltd., 911 F.3d 192, 196–97 (4th Cir.

2018).


     B.    Rule 12(b)(6) Motion to Dismiss


           Federal Rule of Civil Procedure 8(a)(2) requires that

a pleader provide “a short and plain statement of the claim

showing . . . entitle[ment] to relief.”         Fed. R. Civ. P.

8(a)(2); Erickson v. Pardus, 127 S. Ct. 2197, 2200 (2007).            The

required “short and plain statement” must provide “‘fair notice


                                     5
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 6 of 80 PageID #: 4155



of what the . . . claim is and the grounds upon which it

rests.’”      Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545

(2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957),

overruled on other grounds, Twombly, 550 U.S. at 563).


              Rule 12(b)(6) correspondingly permits a defendant to

challenge a complaint that “fail[s] to state a claim upon which

relief can be granted.”         Fed. R. Civ. P. 12(b)(6).       In order to

survive a motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” 6           Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

The “[f]actual allegations [in the complaint] must be enough to

raise a right to relief above the speculative level” such that

relief is “plausible.”        Twombly, 550 U.S. at 555-56.        A

“formulaic recitation of the elements of a cause of action will

not do.”      Id. at 555.


              “A motion to dismiss tests the sufficiency of a

complaint.”      Occupy Columbia v. Haley, 738 F.3d 107, 116 (4th

Cir. 2013).      The court’s evaluation is therefore “generally

limited to a review of the allegations of the complaint itself.




6 “[T]he usual standards of notice pleading apply in defamation
cases.” Hatfill v. N.Y. Times Co., 416 F.3d 320, 329 (4th Cir.
2005).


                                        6
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 7 of 80 PageID #: 4156



However, [the court] also consider[s] documents that are

explicitly incorporated into the complaint by reference . . . .”

Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 165–66 (4th

Cir. 2016) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd.,

551 U.S. 308, 322 (2007)).      Application of the Rule 12(b)(6)

standard requires that the court “‘accept as true all of the

factual allegations contained in the complaint.’”           Erickson, 551

U.S. at 94 (quoting Twombly, 550 U.S. at 555-56).           The court

must “draw all reasonable inferences in favor of the plaintiff,”

Kensington Volunteer Fire Dep't, Inc. v. Montgomery Cty., Md.,

684 F.3d 462, 467 (4th Cir. 2012), but the court is not required

to accept as true allegations that are merely conclusory,

unwarranted deductions of fact, or unreasonable inferences,

Veney v. Wyche, 293 F.3d 726, 730 (4th Cir. 2002).


           Determining plausibility “does not impose a

probability requirement at the pleading stage; it simply calls

for enough fact to raise a reasonable expectation that discovery

will reveal evidence” of the alleged wrongdoing.          Twombly, 550

U.S. at 545.   “[A] Rule 12(b)(6) motion should only be granted

if, after accepting all well-pleaded allegations in the

plaintiff's complaint as true and drawing all reasonable factual

inferences from those facts in the plaintiff's favor, it appears

certain that the plaintiff cannot prove any set of facts in




                                     7
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 8 of 80 PageID #: 4157



support of his claim entitling him to relief.”             Edwards v. City

of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999).


                             III. Applicable Law


              Federal courts exercising jurisdiction through

diversity of citizenship must apply state substantive law.               Erie

R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938); see also

Stonehocker v. Gen. Motors Corp., 587 F.2d 151, 154 (4th Cir.

1978) (“[F]ederal courts are to apply the substantive law the

State in which they are sitting would apply if the case had

originated in a State court.”).          Removal in this case was based

on diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). 7

The court therefore considers relevant case law from the Supreme

Court of Appeals of West Virginia.


        A.    Personal Jurisdiction


              Rule 4(k)(1)(A) of the Federal Rules of Civil

Procedure authorizes a federal court to exercise personal

jurisdiction over a defendant in the manner provided by state

law.     See ESAB Group, Inc. v. Centricut, Inc., 126 F.3d 617, 622




7 The plaintiff moved to remand this case to the Circuit Court of
Mingo County, see ECF No. 5, but the court denied the motion, in
part, because a forum defendant had not been “properly joined
and served” before removal of the case, see ECF No. 133.


                                        8
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 9 of 80 PageID #: 4158



(4th Cir. 1997).    For a district court to assert personal

jurisdiction over a non-resident defendant, two conditions must

be satisfied: (1) the exercise of jurisdiction must be

authorized under the state's long-arm statute, and (2) the

exercise of jurisdiction must comport with the Due Process

Clause of the Fourteenth Amendment to the United States

Constitution.    Carefirst of Maryland, Inc. v. Carefirst

Pregnancy Ctrs., Inc., 334 F.3d 390, 396 (4th Cir. 2003);

Nichols v. G.D. Searle & Co., 991 F.2d 1195, 1199 (4th Cir.

1993).   Where the state’s long-arm statute extends personal

jurisdiction to the extent permitted by the Due Process Clause,

“the statutory inquiry necessarily merges with the

constitutional inquiry, and the two inquiries essentially become

one.”    Stover v. O'Connell Assocs., Inc., 84 F.3d 132, 135–36

(4th Cir. 1996).


            The applicable state law in West Virginia is the West

Virginia long-arm statute, W. Va. Code § 56-3-33.           Pittsburgh

Terminal Corp. v. Mid Allegheny Corp., 831 F.2d 522, 525 (4th

Cir. 1987).   The West Virginia long-arm statute is “coextensive

with the full reach of due process.”        In re Celotex Corp., 124

F.3d 619, 627–28 (4th Cir. 1997).        The statutory inquiry

therefore merges with the constitutional inquiry, and the

court’s analysis centers on whether exercising personal




                                     9
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 10 of 80 PageID #: 4159



jurisdiction over a defendant is consistent with the Due Process

Clause.   Id.; see also J. McIntyre Mach., Ltd. v. Nicastro, 564

U.S. 873, 903 n.8 (2011) (noting that the West Virginia “[s]tate

long-arm provision[] allow[s] the exercise of jurisdiction

subject only to a due process limitation”).


           A court's exercise of jurisdiction over a non-resident

defendant comports with the due process requirement if the

defendant has “certain minimum contacts” with the forum state,

such that to require the defendant to defend its interests in

that state “does not offend traditional notions of fair play and

substantial justice.”      Int'l Shoe Co. v. Washington, 326 U.S.

310, 316 (1945) (internal quotation marks omitted); see also

Carefirst of Maryland, 334 F.3d at 397.         In judging minimum

contacts, a court properly focuses on “the relationship among

the defendant, the forum, and the litigation.”          Shaffer v.

Heitner, 433 U.S. 186, 204 (1977).         “Each defendant’s contacts

with the forum State must be assessed individually.”            Calder v.

Jones, 465 U.S. 783, 790 (1984).          For that reason, “jurisdiction

over an employee does not automatically follow from jurisdiction

over the corporation which employs him; nor does jurisdiction

over a parent corporation automatically establish jurisdiction

over a wholly owned subsidiary.”          Keeton v. Hustler Magazine,

Inc., 465 U.S. 770, 781 n.13 (1984).




                                     10
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 11 of 80 PageID #: 4160



           A court may exercise personal jurisdiction over a non-

resident defendant of the forum state by finding either (a)

general jurisdiction, or (b) “specific jurisdiction based on

conduct connected to the suit.”        ALS Scan, Inc. v. Digital Serv.

Consultants, Inc., 293 F.3d 707, 711 (4th Cir. 2002).             General

personal jurisdiction is considered “all purpose” jurisdiction

as it “permits a court to assert jurisdiction over a defendant

based on a forum connection unrelated to the underlying suit.”

Walden v. Fiore, 571 U.S. 277, 284 n.6 (2014).          General personal

jurisdiction requires “continuous and systemic” contacts with

the forum state.     See Helicopteros Nacionales de Colombia, S.A.

v. Hall, 466 U.S. 408, 414–16 (1984); Perdue Foods LLC v. BRF

S.A., 814 F.3d 185, 188 (4th Cir. 2016).         The “paradigm forum”

for general personal jurisdiction over a natural person is the

person’s domicile.     Daimler AG v. Bauman, 571 U.S. 117, 137

(2014).   The “paradigm forums” for a corporation are its place

of incorporation and principal place of business.           Id.   A

natural person’s domicile is the state in which that person

lives “with intent to make it a fixed and permanent home.”

Comm'r of Internal Revenue v. Swent, 155 F.2d 513, 515 (4th Cir.

1946); see also Mississippi Band of Choctaw Indians v.

Holyfield, 490 U.S. 30, 48 (1989) (“For adults, domicile is

established by physical presence in a place in connection with a




                                     11
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 12 of 80 PageID #: 4161



certain state of mind concerning one's intent to remain

there.”). 8


              Specific personal jurisdiction is “confined to

adjudication of issues deriving from, or connected with, the

very controversy that establishes jurisdiction.”              Goodyear

Dunlop Tire Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011).

Specific personal jurisdiction requires that the defendant have

“purposefully established minimum contacts in the forum State”

such “that [the defendant] should reasonably anticipate being

haled into court there.”         Burger King Corp. v. Rudzewicz, 471

U.S. 462, 474 (1985) (internal quotation marks and citations

omitted).      “[T]he defendant’s suit-related conduct must create a

substantial connection with the forum State.”             Walden, 571 U.S.

at 284.      The question “is not where the plaintiff experienced a

particular injury or effect but whether the defendant’s conduct

connects him to the forum in a meaningful way.”              Id. at 290.


              The Fourth Circuit considers three factors in

determining specific personal jurisdiction: “(1) the extent to

which the defendant has purposefully availed itself of the



8 A natural person’s domicile differs from their residence in
that a residence simply requires bodily presence as an
inhabitant in a given place. Swent, 155 F.2d at 515. A natural
person may have multiple residences but only has one domicile.
Id.; see also Holyfield, 490 U.S. at 48 (noting that a person
“can reside in one place but be domiciled in another”).


                                        12
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 13 of 80 PageID #: 4162



privilege of conducting activities in the state; (2) whether the

plaintiffs’ claims arise out of those activities directed at the

state; and (3) whether the exercise of personal jurisdiction

would be constitutionally reasonable.”         Carefirst of Maryland,

334 F.3d at 397 (internal quotation marks omitted).           The

plaintiff must prevail on each prong.         See Consulting Eng'rs,

561 F.3d at 278-79.


           The Fourth Circuit has consistently dismissed suits

against a non-resident defendant who published information on

the Internet for an audience outside the forum state.            In ALS

Scan, the Fourth Circuit affirmed the dismissal of a suit for

lack of personal jurisdiction wherein a Maryland corporation

filed suit against a Georgia-based Internet Service Provider for

enabling a website owner to publish photographs on the Internet

in violation of the Maryland corporation's copyrights.            293 F.3d

at 709.   The court concluded that:

           [A] State may, consistent with due process, exercise
           judicial power over a person outside of the State when
           that person (1) directs electronic activity into the
           State, (2) with the manifested intent of engaging in
           business or other interactions within the State, and
           (3) that activity creates, in a person within the
           State, a potential cause of action cognizable in the
           State's courts.

Id. at 714.    “Under this standard, a person who simply places

information on the Internet does not subject himself to




                                     13
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 14 of 80 PageID #: 4163



jurisdiction in each State into which the electronic signal is

transmitted and received.”       Id.


           In Young v. New Haven Advocate, the Fourth Circuit

similarly found no personal jurisdiction over Connecticut

defendants who posted news articles on the Internet that, in the

context of discussing a Connecticut policy of housing prisoners

in Virginia institutions, allegedly defamed the warden of a

Virginia prison.     315 F.3d 256, 258-59 (4th Cir. 2002).          The

court determined that “the fact that the newspapers' websites

could be accessed anywhere, including Virginia, does not by

itself demonstrate that the newspapers were intentionally

directing their website content to a Virginia audience.”             Id. at

263.   “Something more than posting and accessibility is needed”

and the newspaper “must, through the Internet postings, manifest

an intent to target and focus on Virginia readers.”           Id.   The

court found that the “general thrust and content” of the

newspaper’s websites was “decidedly local” and did not manifest

intent of targeting Virginia readers.         See id. at 263-64.      The

court also found that the focus of the articles in question was

the Connecticut prisoner transfer policy and its impact on the

transferred prisoners and their families back home in

Connecticut.    Id. (“Connecticut, not Virginia, was the focal

point of the articles.”).




                                       14
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 15 of 80 PageID #: 4164



            Other courts have similarly refrained from exercising

personal jurisdiction over a non-resident defendant if the

allegedly defamatory publication did not target a forum state

audience.   See, e.g., Busch v. Viacom Int’l, Inc., 477 F. Supp.

2d 764, 772 (N.D. Tex. 2007) (finding no personal jurisdiction

over Jon Stewart in defamation case because “[t]he piece was not

directed at viewers of The Daily Show in Texas, but was

broadcast nationwide” and there was no evidence that Texas was

the “focal point”); Revell v. Lidov, 317 F.3d 467, 475 (5th Cir.

2002) (finding no personal jurisdiction in defamation suit

arising out of defendant’s post on an internet bulletin board

hosted by a New York university because “the post to the

bulletin board here was presumably directed at the entire world

. . . certainly it was not directed specifically at Texas”).


            In Calder v. Jones, the Supreme Court considered a

libel case regarding a magazine article written by Florida

residents about a California actress.         465 U.S. at 784-85.      The

article alleged that the actress had a drinking problem that

interfered with her career.       See id. at 788 n.9.      The Court

concluded that the writers were subject to personal jurisdiction

in California because “California is the focal point both of the

story and of the harm suffered,” and the writers’ “intentional,

and allegedly tortious, actions were expressly aimed at




                                     15
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 16 of 80 PageID #: 4165



California.”    Id. at 789.    The Court reached this conclusion

because the story “concerned the California activities of a

California resident . . . whose television career was centered

in California,” the writers relied on California sources, and

“the brunt of the harm, in terms both of [the actress’]

emotional distress and the injury to her professional

reputation, was suffered in California.”         See id. at 788–89.

The Court also noted that the magazine has its largest

circulation in California, by a considerable amount.            See id. at

785, 790.   Under the circumstances, the Florida residents must

have “reasonably anticipate[d] being haled into court” in

California to answer for the truth of their statements in the

article.    Id. at 790.


     B.     Defamation


            Defamation is “[a] false written or oral statement

that damages another's reputation.”        Pritt v. Republican Nat.

Comm., 557 S.E.2d 853, 861 n.12 (W. Va. 2001) (quoting Black's

Law Dictionary 427 (7th ed. 1999)).        Defamation published in

written form constitutes libel.        Syl. Pt. 8, Greenfield v.

Schmidt Baking Co., 485 S.E.2d 391, 394 (W. Va. 1997).            West

Virginia law identifies three types of plaintiffs in defamation

cases: (1) public officials and candidates for public office,

(2) public figures, and (3) private individuals.           Syl. Pt. 10,


                                     16
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 17 of 80 PageID #: 4166



Hinerman v. Daily Gazette Co., 423 S.E.2d 560, 564 (W. Va.

1992).   The plaintiff in this case qualifies as a candidate for

public office, and may also qualify as a public figure in West

Virginia based on his “prominence or notoriety.”           See State ex

rel. Suriano v. Gaughan, 480 S.E.2d 548, 556 (W. Va. 1996); see

generally Wilson v. Daily Gazette Co., 588 S.E.2d 197 (W. Va.

2003) (discussing types of public figures in defamation suits).


           Public officials or candidates for public office must

prove three elements by clear and convincing evidence in order

to recover in a defamation action:

           (1) there was the publication of a defamatory
           statement of fact or a statement in the form of an
           opinion that implied the allegation of undisclosed
           defamatory facts as the basis for the opinion; (2) the
           stated or implied facts were false; and, (3) the
           person who uttered the defamatory statement either
           knew the statement was false or knew that he was
           publishing the statement in reckless disregard of
           whether the statement was false.

Syl. Pt. 1, Hinerman, 423 S.E.2d at 563 (emphasis omitted); see

also Chafin v. Gibson, 578 S.E.2d 361, 366-68 (W. Va. 2003)

(applying the three elements); Pritt, 557 S.E.2d at 861-63

(affirming that public officials must prove (1) a defamatory

statement, (2) that was false, and (3) was published with actual

malice).   Public figures must also prove actual malice.           See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 244 (1986); Syl.

Pt. 11, Pritt, 557 S.E.2d at 855.         In addition, “a court should




                                     17
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 18 of 80 PageID #: 4167



not consider words or elements in isolation, but should view

them in the context of the whole article.”          See Crump v. Beckley

Newspapers, Inc., 320 S.E.2d 70, 87 (W. Va. 1983) (quoting

Rinsley v. Brandt, 700 F.2d 1304, 1310 (10th Cir. 1983)).


             (1)    Defamatory Statement


             Defamatory statements tend to defame the plaintiff and

“reflect shame, contumely, and disgrace” upon them.           See Syl.

Pt. 1, Sprouse v. Clay Commc’n, Inc., 211 S.E.2d 674, 679 (W.

Va. 1975).    A statement may be described as defamatory “if it

tends so to harm the reputation of another as to lower him in

the estimation of the community or to deter third persons from

associating or dealing with him.”         Crump, 320 S.E.2d at 77

(citing Restatement (Second) of Torts § 559 (1977)).            Defamation

may be accomplished directly through direct reference, or

indirectly through inference, implication, innuendo, or

insinuation.       See id.


             “A court must decide initially whether as a matter of

law the challenged statements in a defamation action are capable

of a defamatory meaning.”      Syl. Pt. 6, Long v. Egnor, 346 S.E.2d

778, 780 (W. Va. 1986).      In making this assessment, the court

must decide whether the allegedly defamatory statement could be

construed as a statement of fact or opinion.          Pritt, 557 S.E.2d



                                     18
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 19 of 80 PageID #: 4168



at 861; Syl. Pt. 7, Long, 346 S.E.2d at 780.          A statement of

opinion that does not contain a “provably false assertion of

fact” is entitled to full constitutional protection.            Syl. Pt.

4, Maynard v. Daily Gazette Co., 447 S.E.2d 293, 294 (W. Va.

1994); see also Syl. Pt. 7, Long, 346 S.E.2d at 780

(“[S]tatements of opinion are absolutely protected under the

First Amendment and cannot form the basis for a defamation

action.”).


             Statements falsely charging a person with the

commission of any crime, whether a felony or a misdemeanor, are

actionable as defamation per se in West Virginia.           See Milan v.

Long, 88 S.E. 618, 619 (W. Va. 1916); see also Mauck v. City of

Martinsburg, 280 S.E.2d 216, 219 n.3 (W. Va. 1981) (“At common

law, defamation per se includes only imputations of a crime of

moral turpitude . . . .”); Colcord v. Gazette Pub. Co., 145 S.E.

751, 753 (W. Va. 1928) (“Any printed or written publication

imputing to another a crime or moral delinquency is actionable

per se, without proof of special damages.”); Alderson v.

Kahle, 80 S.E. 1109, 1110 (W. Va. 1914) (“The words ‘thief’ and

‘robber’ are clearly actionable at common law, for they import

guilt of criminal offenses.”).


             Based on the applicable law, all challenged statements

in this case that identify the plaintiff as a “felon,”



                                     19
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 20 of 80 PageID #: 4169



“convicted felon,” or “felonious” are capable of a defamatory

meaning because they reflect shame and disgrace on the

plaintiff.    The statements may also be considered defamatory per

se because they impute a felony conviction.          The defendants do

not argue that any of their statements are opinions, but to the

extent that any of the statements may be considered opinions,

they are based on a “provably false assertion of fact” and thus

are not absolutely protected under the First Amendment.


             (2)   Falsity


             On the issue of falsity:

             [West Virginia libel law] overlooks minor inaccuracies
             and concentrates upon substantial truth. Minor
             inaccuracies do not amount to falsity so long as the
             substance, the gist, the sting, of the libelous charge
             be justified. A statement is not considered false
             unless it would have a different effect on the mind of
             the reader from that which the pleaded truth would
             have produced.

Syl. Pt. 4, Gaughan, 480 S.E.2d at 551.         “[I]f something is

‘substantially’ true in overall effect, minor inaccuracies or

falsities will not create falsity.”        Matter of Callaghan, 796

S.E.2d 604, 627 (W. Va. 2017).


             The plaintiff in this case was convicted of conspiring

to violate federal mine safety laws in violation of 18 U.S.C.

§ 371 and 30 U.S.C. § 820(d), and was sentenced to the “maximum

permitted by law” of one-year imprisonment.          See United States


                                     20
    Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 21 of 80 PageID #: 4170



v. Blankenship, 846 F.3d 663, 667 (4th Cir. 2017), cert. denied,

138 S. Ct. 315 (2017); ECF No. 333-1 at 45:16-20, 76:7-19 (Hr’g

Tr.). 9    The statutes under which the plaintiff was convicted do

not state whether the offense is a misdemeanor or a felony.                A

criminal offense that is not classified as a misdemeanor or a

felony in the relevant statute is classified in accordance with

18 U.S.C. § 3559 based on “the maximum term of imprisonment

authorized.”       See 18 U.S.C. § 3559.      A term of imprisonment of

“one year or less” is a misdemeanor, while a term of “more than

one year” is a felony.         See 18 U.S.C. § 3559(a).


              The defendants largely argue that the references to

“felon” are “substantially true” and do not render their

statements materially false.          See, e.g., ECF No. 196 at 17-18

(CNN); ECF No. 221 at 7-10 (MSNBC); ECF No. 352 at 19

(Breitbart).       The defendants also argue that passing references

to the plaintiff as a “felon” would have no different effect on

the mind of a viewer than the plaintiff’s conviction of

conspiring to violate federal laws and the resulting maximum

possible sentence of one year in prison.            See, e.g., ECF No. 196

at 17 (CNN).




9 The plaintiff submitted the transcript of the sentencing
hearing for his criminal case as part of a request for judicial
notice. See ECF No. 333-1.


                                        21
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 22 of 80 PageID #: 4171



            All the defendants’ statements identifying the

plaintiff as a “felon” are materially false.          The term “felon”

is an objective label with a clear legal meaning –- having been

convicted of a crime with a term of imprisonment of more than

one year.   A person either is or is not a felon; there is no in

between or room for “substantial truth.”         The United States Code

clearly outlines the difference between a felony and a

misdemeanor even when the criminal statute does not clarify the

category of the crime.      The different consequences associated

with being a felon, including that “felons can suffer numerous

restrictions on their constitutional rights,” further underscore

that the two categories are distinct.         See United States v.

Chovan, 735 F.3d 1127, 1145 (9th Cir. 2013) (Bea, J.,

concurring); see also D.C. v. Heller, 554 U.S. 570, 631 (2008)

(discussing that felons may be “disqualified” from exercising

Second Amendment rights); United States v. McCane, 573 F.3d

1037, 1049 (10th Cir. 2009) (Tymkovich, J., concurring) (“After

all, felons lose out on fundamental rights such as voting and

serving on juries, and face discrimination that need only

survive rational basis review.”).         The court also agrees that

“society at large views a ‘felon’ far differently than a person

who has committed an offense resulting in a misdemeanor

conviction.”    See Myers v. The Telegraph, 773 N.E.2d 192, 198

(Ill. App. Ct. 2002)).


                                     22
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 23 of 80 PageID #: 4172



           (3)   Actual Malice


           To prevail in a defamation claim, plaintiffs who are

public officials, candidates for public office, or public

figures must prove by clear and convincing evidence that the

defendant made the defamatory statement with “actual malice” -–

that is, “with knowledge that it was false or with reckless

disregard of whether it was false or not.”          New York Times Co.

v. Sullivan, 376 U.S. 254, 280 (1964); Syl. Pt. 2, Gaughan, 480

S.E.2d at 551; see also Carr v. Forbes, Inc., 259 F.3d 273, 282

(4th Cir. 2001) (“Establishing actual malice is no easy task,

because the defamation plaintiff bears the burden of proof by

clear and convincing evidence.”).


           “Actual malice is a subjective standard.”          Reuber v.

Food Chem. News, Inc., 925 F.2d 703, 714 (4th Cir. 1991) (en

banc).   The Supreme Court of Appeals of West Virginia has also

recognized that:

           The greatest obstacle that a public official libel
           plaintiff must overcome is the First Amendment
           requirement that the publisher of a libel against a
           public official have a subjective appreciation at the
           time of publication that either (1) the defamatory
           statement is false or (2) the defamatory statement is
           being published in reckless disregard of whether it is
           false.

Hinerman, 423 S.E.2d at 572 (emphasis in original).           Actual

malice may be proven by circumstantial evidence.           See Harte-

Hanks Commc'ns, Inc. v. Connaughton, 491 U.S. 657, 668 (1989).


                                     23
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 24 of 80 PageID #: 4173



“[P]artisanship, animus toward the subject of a libel, or other

‘malicious’ motives” are not conclusive evidence of “actual

malice” on their own, but a jury may consider them in

determining “whether a subjective realization that the statement

was false or a subjective realization that the statement was

being published recklessly, existed at the time the statement

was published.”     Hinerman, 423 S.E.2d at 573.


           Reckless disregard of the truth, and thus a showing of

actual malice, exists where there is “sufficient evidence to

permit the conclusion that the defendant in fact entertained

serious doubts as to the truth of his publication” and yet

published with such doubts.       See St. Amant v. Thompson, 390 U.S.

727, 731 (1968); see also Bose Corp. v. Consumers Union of U.S.,

Inc., 466 U.S. 485, 511 n.30 (1984) (defining “reckless

disregard” as when the defendant “subjectively entertained

serious doubt as to the truth of his statement”).

Alternatively, there must be sufficient evidence to permit the

conclusion that the allegedly defamatory statement was “made

with [a] high degree of awareness of [its] probable falsity.”

See CACI Premier Tech., Inc. v. Rhodes, 536 F.3d 280, 300 (4th

Cir. 2008) (quoting Garrison v. Louisiana, 379 U.S. 64, 74

(1964)).   Recklessness may be found where there are obvious




                                     24
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 25 of 80 PageID #: 4174



reasons to doubt the veracity or accuracy of information.             See

St. Amant, 390 U.S. at 732.


           Reliance on trustworthy sources for information does

not support a showing of actual malice.         See, e.g., Horne v.

WTVR, LLC, 893 F.3d 201, 211 (4th Cir. 2018), cert. denied, 139

S. Ct. 823 (2019) (finding no actual malice where a reporter

relied on a confidential trusted source and there was no reason

to doubt the accuracy of the source); Hatfill v. The New York

Times Co., 532 F.3d 312, 325 (4th Cir. 2008) (finding no actual

malice where a reporter relied on an expert); CACI Premier

Tech., Inc. v. Rhodes, 536 F.3d 280, 295-304 (4th Cir. 2008)

(finding no reckless disregard of the truth where a radio host

used reliable sources, government-commissioned reports, and a

published interview by another organization).          Because actual

malice is a subjective standard, “failure to investigate before

publishing, even when a reasonably prudent person would have

done so, is not sufficient to establish reckless disregard” on

its own.   Harte-Hanks Commc'ns, 491 U.S. at 688, 692.           However,

purposeful avoidance of the truth is a different matter, id. at

692, and a “newspaper's departure from accepted standards” may

support a conclusion of reckless disregard of the truth.            Id. at

667–68.




                                     25
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 26 of 80 PageID #: 4175



           The “mere presence” of previous stories in a

newspaper’s files does not establish that the newspaper knew

that a statement was false “since the state of mind required for

actual malice would have to be brought home to the persons in

the [newspaper’s] organization having responsibility for the

publication of the [statement].”          New York Times, 376 U.S. at

287.   The plaintiff argues that several defendants knew that

their statements were false at the time of publication because

the corporate defendant with whom they were related had

previously reported accurate information about the plaintiff’s

conviction.    See, e.g., Compl. ¶¶ 166, 168 (Fox News); id.

¶¶ 169, 173, 191 (MSNBC); id. ¶¶ 171, 174 (CNN).           However, the

plaintiff does not allege specific facts that these individual

defendants previously reported accurate information about the

plaintiff’s conviction.      The plaintiff’s allegations of

knowledge based on previous articles or reporting do not alone

support a plausible inference of actual malice on the part of

the individual or corporate defendants.


           Actual malice cannot be inferred from a failure to

retract or correct a statement once the publisher learns that

the statement is false.      New York Times, 376 U.S. at 286; Pippen

v. NBCUniversal Media, LLC, 734 F.3d 610, 614 (7th Cir. 2013).

Likewise, actual malice cannot be inferred from correcting or




                                     26
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 27 of 80 PageID #: 4176



retracting a statement.      The plaintiff alleges that certain

defendants have not corrected or retracted their allegedly

defamatory statements.      See, e.g., Compl. ¶¶ 171, 174 (CNN,

Sarah Elizabeth Cupp); id. ¶ 166 (Fox News, Neil Cavuto); id.

¶ 191 (MSNBC, Chris Hayes).       Several defendants have issued

retractions or corrections to their statements after becoming

aware that the statements were false.         See, e.g., id. ¶ 158

(Andrew Napolitano); ECF No. 198 at 13 (The Washington Post).

None of these allegations are relevant to the issue of actual

malice because actual malice is based on a defendant’s

subjective state of mind at the time the challenged statement

was published, not whether or not they corrected the statement

after publication.     See Hinerman, 423 S.E.2d at 573.


     C.     False Light Invasion of Privacy


            West Virginia recognizes a legally protected interest

in privacy.    Tabata v. Charleston Area Med. Ctr., Inc., 759

S.E.2d 459, 464 (W. Va. 2014).       Publicity that unreasonably

places another in a false light before the public is an

actionable invasion of privacy.        Syl. Pt. 12, Crump, 320 S.E.2d

at 74.    In a false light invasion of privacy claim, the

plaintiff must prove that: (1) the defendant gave publicity to a

matter concerning the plaintiff that places the plaintiff before

the public in a false light, (2) the publicity was widespread,


                                     27
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 28 of 80 PageID #: 4177



(3) the matter of the publicity was false, (4) the false light

in which the plaintiff was placed would be “highly offensive to

a reasonable person,” and (5) the defendant “had knowledge of or

acted in reckless disregard as to the falsity of the publicized

matter and the false light in which the [plaintiff] would be

placed” (i.e., actual malice).       See Taylor v. W. Virginia Dep't

of Health & Human Res., 788 S.E.2d 295, 315–16 (W. Va. 2016)

(citing Restatement (Second) of Torts § 652E (1977)); Crump, 320

S.E.2d at 87-88.


           False light invasion of privacy claims are similar to

defamation claims in that both require the publication of false

material regarding the plaintiff.         Crump, 320 S.E.2d at 87.      In

both cases, “a court should not consider words or elements in

isolation, but should view them in the context of the whole

article to determine if they constitute an invasion of privacy.”

Id. (quoting Rinsley, 700 F.2d at 1310).         West Virginia courts

therefore treat false light privacy claims in essentially the

same manner as they treat defamation claims.          Id.


           Despite the similarities between defamation and

invasion of privacy, they remain distinct theories of recovery

with separate consideration.       Id. at 86.    Each action protects

different interests: defamation actions involve injury to

reputation, while privacy actions involve injury to emotions and



                                     28
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 29 of 80 PageID #: 4178



mental suffering.     Id. at 87.    Defamation requires a defamatory

statement, but false light invasion of privacy instead requires

the statement to be “offensive to a reasonable person.”            Id.

False light invasion of privacy also requires widespread

publicity, which defamation does not require.          Id. at 87-88.


     D.    Conspiracy


           West Virginia recognizes the tort of civil conspiracy

as a cause of action.      Jane Doe-1 v. Corp. of President of The

Church of Jesus Christ of Latter-day Saints, 801 S.E.2d 443, 458

(W. Va. 2017).    “A civil conspiracy is a combination of two or

more persons by concerted action to accomplish an unlawful

purpose or to accomplish some purpose, not in itself unlawful,

by unlawful means.”     Syl. Pt. 8, Dunn v. Rockwell, 689 S.E.2d

255, 259 (W. Va. 2009).      The cause of action is not created by

the conspiracy itself but by the wrongful acts done by the

defendants to injure the plaintiff.        Id.   “A civil conspiracy is

not a per se, stand-alone cause of action; it is instead a legal

doctrine under which liability for a tort may be imposed on

people who did not actually commit a tort themselves but who

shared a common plan for its commission with the actual

perpetrator(s).”     Syl. Pt. 9, Dunn, 689 S.E.2d at 259.         A civil

conspiracy must therefore be based on an underlying tort or




                                     29
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 30 of 80 PageID #: 4179



wrong.    O'Dell v. Stegall, 703 S.E.2d 561, 596 (W. Va. 2010)

(citing Dunn, 689 S.E.2d).


            In order for a civil conspiracy to be actionable, the

plaintiff must prove that the defendants have committed “some

wrongful act or have committed a lawful act in an unlawful

manner to the injury of the plaintiff.”         Dunn, 689 S.E.2d at

268–69.   A civil conspiracy may be proven by circumstantial

evidence.   See Jane Doe-1, 801 S.E.2d at 473.         Although a civil

conspiracy claim requires an underlying tort or harm resulting

from the conspiracy, the conspiracy claim may be disposed of

separately from the underlying cause of action.           See id. at 458.


                              IV.   Analysis


            Some individual and corporate defendants assert

largely the same arguments in support of their motions under

Rule 12(b)(2).    They argue that they did not conduct any

relevant “activities in the state” or direct their conduct

toward West Virginia.      See, e.g., ECF No. 196 at 25 (individual

CNN defendants); ECF No. 198 at 25 (The Washington Post

individual defendants); ECF No. 293 at 12 (Mediaite).            They also

argue that any reference to the plaintiff was in the context of

addressing numerous issues in national politics, directed toward

a national audience.     See, e.g., ECF No. 196 at 25 (the CNN



                                     30
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 31 of 80 PageID #: 4180



individual defendants); ECF No. 213 at 9-10 (the Fox News

individual defendants); ECF No. 221 at 19-20 (the MSNBC

individual defendants).      Individual defendants also affirm that

they do not have connections to West Virginia, did not rely on

sources located in West Virginia in preparing their news

reports, and did not intend to target a West Virginia audience.

See, e.g., ECF No. 253-6 ¶¶ 4-8 (Decker); ECF No. 253-7 ¶¶ 3-8

(Hensley); ECF No. 253-11 ¶¶ 3-8 (Resnick).


           The plaintiff similarly asserts largely the same

arguments in support of personal jurisdiction over the

defendants.    He argues that that the “general thrust” of the

defendants’ statements shows that the defendants manifested an

intent to target a West Virginia audience such that they should

have anticipated being haled into court in West Virginia to

defend their statements.      See, e.g., ECF No. 329 at 10-11; ECF

No. 333 at 28; ECF No. 334 at 22.         He also argues that the court

should exercise personal jurisdiction over the defendants

because West Virginia is the “focal point” of their defamatory

statements and of the plaintiff’s resulting harm.           See, e.g.,

ECF No. 329 at 5-6, 11; ECF No. 334 at 23; ECF No. 341 at 19-20.


           All the defendants largely assert the same arguments

in support of their motions under Rule 12(b)(6).           The defendants

argue that the plaintiff fails to state a claim for either



                                     31
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 32 of 80 PageID #: 4181



defamation or false light invasion of privacy because the

challenged statements were substantially true and because the

plaintiff failed to allege plausibly that the defendants

published the statements with actual malice.          See, e.g., ECF No.

196 at 15, 23 (CNN); ECF No. 218 at 7-18 (Fox News); ECF No. 227

at 4-9 (News and Guts).      The defendants also argue that the

plaintiff merely asserts a generic and conclusory allegation

that all the defendants acted with actual malice.           See, e.g.,

ECF No. 198 at 19-20 (The Washington Post); ECF No. 218 at 13

(Fox News); ECF No. 227 at 8 (News and Guts).          Some defendants

assert that this case precisely implicates the kind of “passing

mistakes” or “fleeting errors” that the actual malice standard

is supposed to inoculate.      See ECF No. 196 at 23 (CNN); ECF No.

198 at 21 (The Washington Post); ECF No. 392 at 6 (Williamson).


           The plaintiff argues in opposition that his

allegations create more than a plausible inference that the

defendants acted with knowledge of the falsity of the challenged

statements or with reckless disregard of their falsity.            See,

e.g., ECF No. 330 at 13; ECF No. 334 at 17; ECF No. 335 at 16.

The plaintiff also asserts that some defendants are

“sophisticated and knowledgeable political operatives” with

“extensive experience and involvement in politics” so that they

were at least reckless in publishing the allegedly defamatory




                                     32
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 33 of 80 PageID #: 4182



statements without complying with their own policies and

procedures regarding the reporting of criminal convictions and

first consulting the public record.        See, e.g., ECF No. 330 at

15; ECF No. 335 at 17; ECF No. 342 at 14.


     A.    Cable News Network, Inc., Sarah Elizabeth Cupp, and
           Joe Lockhart (ECF No. 195)


           On April 29, 2018, Cable News Network, Inc. (“CNN”)

host and chief political correspondent Dana Bash introduced a

segment on the CNN program CNN Newsroom about the Republican

primary in West Virginia.      ECF No. 196 at 11-12.       Bash opened

the segment by explaining that “Don Blankenship served a year in

prison for working conditions linked to the deadliest U.S. mine

explosion in four decades.       He was the head of -- of the mining

company at the time.     He reminds us it was just a misdemeanor

. . . .”   ECF No. 195-2 at 2:5-9.        Kevin McLaughlin, a

Republican Party strategist, 10 appeared as a guest during the

segment and said about the plaintiff: “Well, I mean, pick your

poison with this guy, right?       He doesn’t live in West Virginia,

he’s a convicted felon.”      See Compl. ¶ 160; ECF No. 196 at 12.




10McLaughlin has been the Executive Director of the National
Republican Senatorial Committee since December 2018. See Compl.
¶ 82.


                                     33
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 34 of 80 PageID #: 4183



           On May 2, 2018, defendant Sarah Elizabeth Cupp hosted

a round-table discussion about various political topics,

including primary elections in multiple states, on the

television program S.E. Cupp Unfiltered on CNN’s subsidiary

network HLN.    See Compl. ¶ 171; ECF No. 196 at 13.         When

discussing the West Virginia primary election, Cupp played a

clip of the plaintiff speaking at the May 1, 2018 primary debate

wherein the plaintiff discusses his conviction and corruption at

the Department of Justice.       See Compl. ¶¶ 162, 171; ECF No. 196

at 13.   Cupp responded that: “‘You wanna talk about the Justice

Department, I know something about the Justice Department.’

That’s because you’re a convict!           You’re a felon!   Oh my god!”

Compl. ¶ 171; ECF No. 195-4 at 13:21-24.


           On May 7, 2018, the host of CNN Tonight, Don Lemon

addressed several topics of national interest.          ECF No. 196 at

12.   About forty (40) minutes into the segment, Lemon introduced

a segment about the West Virginia Republican primary, noting

that President Donald Trump had tweeted to urge people to vote

against the plaintiff.      See id.    Joe Lockhart, a CNN political

contributor, stated during the segment that: “What's striking

here is in Trump's tweet this morning, he didn't say anything

about Roy Moore and his personal problems.          He didn't say don't

vote for Blankenship because he went to jail.          He's a convicted




                                      34
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 35 of 80 PageID #: 4184



felon, he's a racist, and he's crazy.”         See Compl. ¶ 179; ECF

No. 196 at 12.


           On May 8, 2018, Cupp again discussed primary elections

across the country on S.E. Cupp Unfiltered and said about the

plaintiff that: “In case you missed it, a former coal baron and

convicted felon is running for senate in West Virginia.”            See

Compl. ¶ 174; ECF No. 196 at 13-14.        The defendants filed a

motion to dismiss pursuant to Rule 12(b)(2) as to defendants

Cupp and Lockhart, and pursuant to Rule 12(b)(6) against all

three defendants.     ECF No. 195.


           (1)   Personal Jurisdiction


           The court lacks general jurisdiction over defendants

Cupp and Lockhart because neither individual is domiciled in

West Virginia.    The court also lacks specific jurisdiction over

these individual defendants because the plaintiff has not

presented sufficient evidence to establish by a preponderance of

the evidence that the “general thrust and content” of the

statements was focused on West Virginia, or that the statements

were uttered with the manifest intent of targeting a West

Virginia audience.     The allegedly defamatory statements were

comments during broadcasts about national political issues to a

national audience.     It would not be reasonable for Cupp or



                                     35
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 36 of 80 PageID #: 4185



Lockhart to anticipate being haled into a West Virginia court on

the basis of comments in a broadcast about political issues

across several states aimed at a national audience.           The motion

to dismiss with respect to defendants Cupp and Lockhart is

granted for lack of personal jurisdiction.


           (2)    Failure to State a Claim


           The plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that the CNN defendants

uttered their statements with knowledge of their falsity or with

reckless disregard of their falsity.         Cupp made her comment

after showing a clip of the May 1, 2018 primary debate at which

the plaintiff emphasized that his conviction was for a

misdemeanor.     See Compl. ¶ 162.     There is a plausible inference

that Cupp knew her statement was false, or that she otherwise

recklessly disregarded the falsity of her statement, because she

was reporting on an event in which the plaintiff affirmed the

truth.   The same inference extends to Cupp’s second statement

since she was again commenting on the same conviction.


           For the false light invasion of privacy claim, CNN

argues, in addition to the requirements of falsity and actual

malice, that the challenged statements cannot be considered

“highly offensive” or a “major misrepresentation” because the



                                     36
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 37 of 80 PageID #: 4186



plaintiff was convicted of what the federal court considered to

be a “dangerous” and “very serious” crime resulting in a one-

year term of imprisonment.       See ECF No. 196 at 23-24.       As

previously discussed, the court finds that society views a felon

differently from a misdemeanant.          Calling the plaintiff a

“felon” could place him in a false light that a reasonable

person could consider “highly offensive.”          The motion to dismiss

is therefore denied with respect to CNN.


     B.    WP Company LLC, Josh Dawsey, Jenna Johnson, Dana
           Milbank, and Amber Phillips (ECF No. 197)


           On May 8, 2018, WP Company LLC (“The Washington Post”)

published an op-ed by Dana Milbank discussing a number of

politicians and political groups in relation to the idea of

“Trumpism.”    ECF No. 198 at 11.      Milbank opines that: “Now we

have Blankenship, Roy Moore, Joe Arpaio and a proliferation of

name-calling misfits and even felons on Republican ballots.

They are monsters created by the GOP, or rather the power vacuum

the GOP has become.”     Compl. ¶ 189; ECF No. 198 at 11.         The

online version of the opinion article includes a hyperlink to

another news article that correctly states that the plaintiff

was convicted of a “misdemeanor . . . for conspiring to violate

mine safety laws, which sent him to prison for a year.”             ECF No.

197-7 at 2; ECF No. 198 at 12.



                                     37
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 38 of 80 PageID #: 4187



           On July 25, 2018, Jenna Johnson and Josh Dawsey

published an article on The Washington Post website discussing

primary campaigns in over a dozen states.          ECF No. 198 at 12.

In the only paragraph about the West Virginia primary, the

authors describe a tweet by President Trump regarding the

primary: “A day before West Virginia’s Senate primary, Trump

urged Republicans to vote for either Rep. Evan Jenkins or

Attorney General Patrick Morrisey but not Don Blankenship, a

former coal mine owner and felon.”          See Compl. ¶ 218; ECF No.

198 at 12-13.    The same article appeared in print in The

Washington Post on July 27, 2018.          See Compl. ¶ 220; ECF No. 198

at 12.


           On August 9, 2018, The Washington Post published an

online article by Amber Phillips stating that:

           Three convicted felons have run or are running for
           office this year. Two have lost — in New York, former
           congressman Michael Grimm vying for his old seat, and
           in West Virginia, former coal baron Don Blankenship.
           Former Arizona sheriff Joe Arpaio is still in the
           running for Senate in Arizona, and he has been
           embraced by the White House.

Compl. ¶ 221; ECF No. 198 at 13.          The defendants filed a motion

to dismiss pursuant to Rule 12(b)(2) as to defendants Dawsey,

Johnson, Milbank, and Phillips, and pursuant to Rule 12(b)(6) as

to all the defendants.      ECF No. 197.




                                     38
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 39 of 80 PageID #: 4188



            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over the

individual defendants because none of them is domiciled in West

Virginia.   The court also lacks specific jurisdiction over these

defendants because the “general thrust and content” of their

statements was not focused on West Virginia, and their

statements were not published online or in print with the

manifest intent of targeting a West Virginia audience.            There is

no evidence that The Washington Post website directs electronic

activity into West Virginia or that it intentionally targets a

West Virginia audience with its content.         The allegedly

defamatory statements were stray comments in news articles about

national political issues aimed at a national audience, or at

least aimed at an audience in the Washington, DC area.            It would

not be reasonable for these defendants to anticipate being haled

into a West Virginia court on the basis of these comments.             The

court therefore grants the defendants’ motion to dismiss with

respect to defendants Dawsey, Johnson, Milbank, and Phillips for

lack of personal jurisdiction.


            (2)   Failure to State a Claim


            The plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that the defendants




                                     39
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 40 of 80 PageID #: 4189



published their statements with actual malice.          The plaintiff’s

conviction is a matter of public record, which these political

reporters should have been aware to consult.          See Harte-Hanks

Commc'ns, 491 U.S. at 667–68 (noting that a “newspaper's

departure from accepted standards” may support a conclusion of

reckless disregard to the truth).         Drawing reasonable inferences

in favor of the plaintiff, the court finds that the plaintiff

alleges enough facts to raise a reasonable expectation that

discovery will reveal evidence of alleged wrongdoing.            The

motion to dismiss is denied with respect to The Washington Post.


     C.     Eli Lehrer (ECF No. 205) & Charleston Gazette-Mail
            (ECF No. 242)


            On May 25, 2018, the Charleston Gazette-Mail newspaper

published an article by Eli Lehrer, both based in West Virginia,

stating that: “Former coal executive, convicted felon and self-

described ‘Trumpier-than-Trump[’] West Virginia candidate Don

Blankenship wants to remain in his U.S. Senate race after losing

the Republican primary.”      Compl. ¶ 212; ECF No. 2015-1 at 2.

The defendants filed motions to dismiss pursuant to Rule

12(b)(6).   ECF Nos. 205, 242.


            For the same reasons discussed in The Washington Post

motion to dismiss, the plaintiff’s allegations are sufficient at

this stage to create a “plausible inference” that the defendants


                                     40
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 41 of 80 PageID #: 4190



here published their statement with actual malice.           The motions

to dismiss are denied with respect to Eli Lehrer and the

Charleston Gazette-Mail.


     D.    Fox News Network, LLC, Bradley Blakeman, Neil Cavuto,
           Stephanie Hamill, John Layfield, Elizabeth Macdonald,
           and Andrew Napolitano (ECF Nos. 211, 216)


           On April 25, 2018, former judge Andrew Napolitano

appeared on a panel on the Fox News Network, LLC (“Fox News”)

program Outnumbered and said that: “[Don Blankenship] went to

jail for manslaughter, after being indicted.” 11         See Compl.

¶¶ 16, 156; ECF No. 213 at 3.       The plaintiff asserts that

Napolitano knew that the manslaughter claim was false because

Napolitano is a former judge of the Superior Court of New Jersey

and is a Fox News “Senior Judicial Analyst.”          See Compl. ¶ 17.

Nevertheless, the plaintiff alleges that Napolitano made this

statement “in part, in furtherance of the coordinated effort to

defeat Mr. Blankenship’s candidacy by any means.”           See id.

¶ 157.


           On May 7, 2018, Neil Cavuto appeared on the Fox

Business Network program Coast to Coast with Neil and twice

referred to the plaintiff as a “convicted felon” during panel


11Although this statement is different from the majority of
defendants’ statements identifying the plaintiff as a “felon,”
the accusation of manslaughter is clearly false.


                                     41
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 42 of 80 PageID #: 4191



discussions of the upcoming primary and general elections.             See

id. ¶ 166; ECF No. 213 at 3-4.       Also on May 7, 2018, John

Layfield hosted the Fox Business program The Evening Edit and

referred to the plaintiff as “a felon who’s got a probation

officer, who could end up in Congress.”         See Compl. ¶ 168; ECF

No. 213 at 4.    Bradley Blakeman, a political consultant,

appeared as a guest on the same program and stated, in reference

to the plaintiff, that: “We can’t have the standard bearer of

our party running for statewide office, and the guy is a felon.”

See Compl. ¶ 168; ECF No. 213 at 4.


           On May 8, 2018, Stephanie Hamill appeared on a panel

on the Fox Business Network Making Money and said in reference

to the plaintiff that: “[I]t might be difficult for him to

actually win a general election because of his issue being a

convicted felon."     See Compl. ¶ 167; ECF No. 213 at 4-5.         The

plaintiff also alleges that Hamill made the statement, in part,

as part of a concerted effort to defeat the plaintiff by falsely

smearing him.    See id.    On May 9, 2018, Elizabeth Macdonald

appeared on a panel on the Fox Business show The Evening Edit

and referred to the plaintiff as a “felon.”          See Compl. ¶ 196;

ECF No. 213 at 5.


           The defendants filed a motion to dismiss pursuant to

Rule 12(b)(2) as to the individual defendants Napolitano,



                                     42
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 43 of 80 PageID #: 4192



Cavuto, Blakeman, Layfield, Hamill, and MacDonald, see ECF No.

211; pursuant to Rules 12(b)(5) for insufficient or untimely

service of process as to defendants Blakeman, Hamill, MacDonald,

and Napolitano, see id.; and pursuant to Rule 12(b)(6) against

all the defendants, see ECF No. 216.


            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over the

individual defendants because none of them is domiciled in West

Virginia.   The court also lacks specific jurisdiction over these

defendants because there is not sufficient evidence to show that

the “general thrust and content” of the statements was focused

on West Virginia, or that the statements were published with the

manifest intent of targeting a West Virginia audience.            All the

programs on which the statements aired are broadcast nationwide.

The plaintiff does not present evidence to show that a West

Virginia audience is targeted in general by these programs or

specifically on the dates in question.         Furthermore, the

allegedly defamatory statements were stray comments during much

longer broadcasts about national political issues.           It would not

be reasonable for the individual defendants to anticipate being

haled into a West Virginia court on the basis of these comments.

The court therefore grants the defendants’ motion to dismiss

with respect to the individual defendants.


                                     43
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 44 of 80 PageID #: 4193



           With regard to the arguments about insufficient or

untimely service of process raised by defendants Blakeman,

Hamill, MacDonald, and Napolitano, the court finds that issue

moot in light of their dismissal just noted.


           (2)   Failure to State a Claim


           The plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that the Fox News

defendants uttered their statements with knowledge of their

falsity or with reckless disregard of their falsity.            The

parties have not demonstrated that television or broadcast media

should be held to a different standard from print media when

assessing actual malice.      Like The Washington Post, the Fox News

defendants should have been aware to consult the public record

regarding the plaintiff’s conviction.         See Harte-Hanks Commc'ns,

491 U.S. at 667–68.     Drawing reasonable inferences in favor of

the plaintiff, the court finds that the plaintiff alleges enough

facts to raise a reasonable expectation that discovery will




                                     44
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 45 of 80 PageID #: 4194



reveal evidence of alleged wrongdoing.         The motion to dismiss is

denied with respect to Fox News. 12


     E.    MSNBC Cable, LLC; NBCUniversal, LLC; CNBC, LLC; Leigh
           Ann Caldwell; Chris Hayes; Joy Ann Lomena-Reid; and
           Brian Schwartz (ECF No. 220)


           On April 16, 2018, Chris Hayes, an MSNBC Cable, LLC

(“MSNBC”) reporter and host of the program All In With Chris

Hayes, posted the following statement to his Twitter account

@chrislhayes: “The GOP may very well nominate a felonious coal

baron found responsible for dozens of miners’ deaths to [sic] as

their senate nominee in WV.”       Comp. ¶ 169; ECF No. 221 at 3.

The plaintiff argues that a reasonable person would know from

the reference to “coal baron” and “senate nominee in WV” that

Hayes was referring to the plaintiff.         See Comp. ¶ 169.


           On April 23, 2018, Hayes discussed the plaintiff’s

campaign advertisements on his show, All In With Chris Hayes on

MSNBC, and stated: “That was a campaign ad in the Year of our

Lord 2018 for a convicted felon Don Blankenship who spent a year

in jail for his role in a mine disaster that killed 29 people,




12Fox News also argues that the false light invasion of privacy
claim fails because the plaintiff has failed to allege a
private, as distinguished from a public, fact. See ECF No. 218
at 18-19. However, the standard for a false light invasion of
privacy claim does not require the fact to be a private one.
See Taylor, 788 S.E.2d at 315–16; Crump, 320 S.E.2d at 87-88.


                                     45
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 46 of 80 PageID #: 4195



calling for Hillary Clinton to be locked up.”          Compl. ¶ 170; ECF

No. 221 at 4.


           On May 4, 2018, Joy Ann Lomena-Reid guest-hosted the

MSNBC program All In With Chris Hayes, and identified the

plaintiff as “coal baron and convicted felon Don Blankenship.”

See Compl. ¶ 172; ECF No. 221 at 4.         On May 9, 2018, Hayes spoke

about the plaintiff’s loss in the May 8th primary election and

stated: “[T]hus endeth the brief and unsuccessful Senate bid of

convicted felon Don Blankenship.”         ECF No. 221 at 4-5.


           On May 17, 2018, Leigh Ann Caldwell published an

article on NBCUniversal’s NBCNews.com website about the

Republican party’s strategy to win midterm general elections in

various states.     See Compl. ¶ 206; ECF No. 221 at 5.         In one

paragraph, Caldwell writes that: “The president urged West

Virginia voters to support either Morrissey or another

establishment candidate over ex-coal baron and convicted felon

Dan Blankenship, who was running a Trump-like campaign.”            ECF

No. 221 at 5.


           On June 25, 2018, Brian Schwartz published an article

on CNBC.com about Donald Trump, Jr. fundraising for Republican

Senate candidates.     See ECF No. 221 at 5-6.       Schwartz only

mentions the plaintiff in one paragraph: “[Trump, Jr.] also

campaigned with Morrisey in early June when he was competing in


                                     46
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 47 of 80 PageID #: 4196



a crowded primary that included coal baron and convicted felon

Don Blankenship who is now running as a third party candidate.”

See Compl. ¶ 219; ECF No. 221 at 5-6.


            The defendants filed a motion to dismiss pursuant to

Rule 12(b)(2) as to defendants Caldwell, Hayes, Lomena-Reid, and

Schwartz; pursuant to Rules 12(b)(4) and 12(b)(5) for

insufficient service of process as to defendants, Schwartz,

CNBC, and NBCUniversal; and pursuant to Rule 12(b)(6) against

all the defendants. 13    See ECF No. 220.


            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over the

individual defendants because none of them is domiciled in West

Virginia.   The court also lacks specific jurisdiction over these

defendants because there is not sufficient evidence to show that

the “general thrust and content” of the statements was aimed at

West Virginia, or that the statements were published with the

manifest intent of targeting a West Virginia audience.            Hayes’

Twitter account, the broadcasts, and the publications are all




13Defendant Lomena-Reid initially joined the motion for
dismissal pursuant to Rules 12(b)(4) and 12(b)(5) for
insufficient service of process, but she withdrew her argument
about late service in a notice to the court. See ECF No. 326.
The notice does not modify any other arguments in the motion to
dismiss. See id.


                                     47
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 48 of 80 PageID #: 4197



directed at national audiences to report on issues of national

interest.   The plaintiff does not present evidence to show that

a West Virginia audience is targeted in general by these

broadcasts or publications, or that the defendants targeted a

West Virginia audience with the specific statements at issue.

Furthermore, the allegedly defamatory statements in the

broadcasts and publications were stray comments during reports

of national political issues –- neither the plaintiff nor West

Virginia was the main subject of these pieces.          It would not be

reasonable for the individual defendants to anticipate being

haled into a West Virginia court on the basis of these

statements.    The court therefore grants the defendants’ motion

to dismiss with respect to the individual defendants.


            (2)   Insufficient Service of Process


            A defendant must be served a summons and a copy of the

complaint within ninety (90) days after the complaint is filed.

Fed. R. Civ. P. 4(m).      If a defendant is not served within the

90-day period, the court -- on motion or sua sponte after notice

to the plaintiff -- must dismiss the action without prejudice

against the unserved defendant or order that service be made

within a specified time.      Id.   However, the court “must extend

the time for service for an appropriate period” if the plaintiff




                                     48
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 49 of 80 PageID #: 4198



shows “good cause” for the failure to serve the defendant

timely.   Id.


           With regard to the arguments about insufficient

service of process raised by defendant Schwartz, the court finds

that issue moot in light of his dismissal just noted.


           The First Amended Complaint, filed on April 9, 2019,

names CNBC and NBCUniversal as defendants.          The plaintiff failed

to serve these two defendants by the 90-day service deadline on

July 8, 2019.    See ECF No. 221 at 14.       These defendants were not

served until September 5, 2019.        See ECF No. 305.     This service

came after the defendants filed their motion to dismiss on

August 16, 2019.     The plaintiff did not seek a waiver of service

under Rule 4(d), or otherwise request an extension of time to

serve until the plaintiff’s responsive filing on September 30,

2019.   See ECF No. 333. The plaintiff attributes the untimely

service to an error by plaintiff’s counsel.          ECF No. 333 at 23.


           The plaintiff named over one hundred defendants in

this single suit.     Coordinating service of process for each

defendant is a cumbersome task for such a myriad of defendants,

but it is a task that the plaintiff undertook when filing suit.

It seems that the plaintiff was not aware of the failure to

serve until the defendants raised it as a ground for dismissal

The plaintiff does not assert any “good cause” for failure to


                                     49
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 50 of 80 PageID #: 4199



serve these two defendants other than unexplained error by

plaintiff’s counsel, which the court finds not to constitute

good cause.    See, e.g., Attkisson v. Holder, 925 F.3d 606, 627

(4th Cir. 2019) (“[G]ood cause generally exists when the failure

of service is due to external factors, such as the defendant’s

intentional evasion of service.”).        The court therefore grants

the motion to dismiss CNBC and NBCUniversal without prejudice.


           (3)   Failure to State a Claim


           For the same reasons discussed in the Fox News motion

to dismiss, the plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that the defendants here

published their statement with actual malice.          The plaintiff

alleges enough facts to raise a reasonable expectation that

discovery will reveal evidence of alleged wrongdoing.            The

motion to dismiss is denied with respect to MSNBC.


     F.    News and Guts, LLC (ECF No. 226)


           On May 7, 2018, News and Guts, LLC (“News and Guts”)

published an article titled “Don Blankenship: A Felon, a Racist

and a Possible GOP Senate Nominee.”        See Compl. ¶ 177; ECF No.

227 at 5-6.    News and Guts filed a motion to dismiss pursuant to

Rule 12(b)(6).    ECF No. 226.




                                     50
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 51 of 80 PageID #: 4200



           For the same reasons discussed in The Washington Post

motion to dismiss, the plaintiff’s allegations are sufficient at

this stage to create a “plausible inference” that the defendants

here published their statement with actual malice.           The motion

to dismiss is denied.


     G.    National Republican Senatorial Committee (ECF No. 228)
           & Kevin McLaughlin (ECF No. 236)


           On April 29, 2018, Kevin McLaughlin appeared on the

CNN program CNN Newsroom and said about the plaintiff that:

“Well, I mean, pick your poison with this guy, right?            He

doesn’t live in West Virginia, he’s a convicted felon.”            Compl.

¶¶ 18, 160; ECF No. 196 at 12.       The plaintiff asserts that

McLaughlin knew the statement was false.         See id. ¶¶ 18, 161.


           The plaintiff alleges that, in the weeks before the

May 8th primary election, members of the National Republican

Senatorial Committee (“NRSC”) participated in “clandestine

meetings” to discuss a “menu” of possible ways to defeat the

plaintiff in the primary election.        See id. ¶¶ 14, 150.         The

plaintiff further alleges that the NRSC and Kevin McLaughlin

conspired with 35th Inc. and unnamed defendants (Does 26-50) in

a common plan to commit defamation and false light invasion of




                                     51
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 52 of 80 PageID #: 4201



privacy against the plaintiff. 14      See id. ¶¶ 233, 246.      The

plaintiff argues that McLaughlin committed overt acts in

furtherance of the conspiracy by referring to the plaintiff as a

“convicted felon” on CNN.      See id. ¶¶ 234-35, 247-48.


           McLaughlin filed a motion to dismiss pursuant to Rule

12(b)(2) for lack of personal jurisdiction and pursuant to Rule

12(b)(6) for failure to state a claim.         ECF No. 236.     The NRSC

filed a motion to dismiss pursuant to Rule 12(b)(6) for failure

to state a claim.     ECF No. 228.


           (1)   Personal Jurisdiction


           The court lacks general jurisdiction over Kevin

McLaughlin because he is not domiciled in West Virginia.            The

court also lacks specific jurisdiction over McLaughlin for the

same reason as the CNN individual defendants – the allegedly

defamatory statement was a stray comment during a broadcast

about national political issues to a national audience.            It

would not be reasonable that the “general thrust” of that

singular statement should make McLaughlin anticipate being haled




14Defendant 35th Inc. is     also listed in the     First Amended
Complaint as “35th PAC.”      See Compl. ¶ 37.      35th Inc. did not
file a motion to dismiss     in this case. The      plaintiff provides
no information as to the     make-up or purpose     of 35th Inc.


                                     52
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 53 of 80 PageID #: 4202



into a West Virginia court.       The court therefore grants

McLaughlin’s motion to dismiss.


             (2)   Failure to State a Claim (Conspiracy)


             The NRSC argues that the plaintiff attempts to tie

liability to the NRSC on the theory that it conspired with other

defendants to defame him, but the plaintiff fails to allege any

specific acts or defamatory statements by the NRSC or any of its

employees.    See ECF No. 230 at 7, 10.       The NRSC also argues that

the plaintiff’s accusation of conspiracy is pure speculation

because the plaintiff does not allege facts to support a “common

plan.”   See id. at 11-12.     The plaintiff argues in opposition

that he sufficiently alleges conspiracy by the NRSC and other

defendants in this suit -- namely 35th Inc., McLaughlin, and

Does 26-50 -- to commit the underlying torts of defamation and

false light invasion of privacy.          See ECF No. 339 at 13-14.


             The plaintiff has alleged enough facts to support the

plausible existence of a civil conspiracy between the NRSC and

other defendants.     The plaintiff has alleged a common plan

between multiple people as part of the meetings between Senate

Republicans and the NRSC.      The alleged purpose of the common

plan was to defame the plaintiff and place him in a false light,

and thereby defeat his candidacy for the West Virginia Senate



                                     53
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 54 of 80 PageID #: 4203



Republican primary election.       The plaintiff specifically alleges

that defendants 35th Inc., McLaughlin, Napolitano, and Hamill

are involved, and that the latter three took overt steps in

furtherance of the common plan by defaming the plaintiff on news

broadcasts.    See Compl. ¶¶ 157 (Napolitano), 167 (Hamill), 235

(McLaughlin).    Accepting the factual allegations as true and

drawing reasonable inferences in favor of the plaintiff, the

court finds that the plaintiff alleges enough facts to raise a

reasonable expectation that discovery will reveal evidence of

alleged wrongdoing.     The NRSC’s motion to dismiss is denied.


     H.      FiscalNote, Inc. and Griffin Connolly (ECF No. 234)


             On May 7, 2018, FiscalNote, Inc. d/b/a Roll Call

published an article, which states that: “West Virginia GOP

Senate candidate Don Blankenship suggested that establishment

Republicans are ‘misinforming’ President Donald Trump and

telling him to oppose his campaign ‘because they do not want me

to be in the U.S. Senate and promote the president's agenda,’

the convicted felon and businessman wrote Monday morning on

Facebook.”    See Compl. ¶ 175; ECF No. 235 at 6.         The article

also states that: “Blankenship was convicted of conspiracy to

violate federal mine safety laws after 29 miners were killed in

the 2010 Upper Big Branch Mine disaster.”          See ECF No. 234-1 at

2; ECF No. 235 at 6.     The plaintiff alleges that Griffin


                                     54
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 55 of 80 PageID #: 4204



Connolly wrote the article, see Compl. ¶ 175, and later affirms

that “Griffin Connolly contributed to [the article],” see ECF

No. 340. 15    Defendants FiscalNote, Inc. and Connolly filed a

motion to dismiss pursuant to Rule 12(b)(6).          ECF No. 234.


              The plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that the defendants

published the statement with actual malice.          The defendants

argue that Connolly should be dismissed from the suit because he

did not author the article in question.         However, Connolly

contributed to the article and thus bears some responsibility

for its content.     The article correctly states the plaintiff’s

crime of conviction but mischaracterizes the conviction as a

felony.   Drawing reasonable inferences in favor of the

plaintiff, the court finds that the plaintiff alleges enough

facts to raise a reasonable expectation that discovery will

reveal evidence of alleged wrongdoing.         The motion to dismiss is

denied.




15The court does not have information about why the author was
not named as a defendant in this suit, or what Connolly
contributed to the article.


                                     55
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 56 of 80 PageID #: 4205



     I.    The Washington Times, LLC and Ben Wolfgang (ECF No.
           238)


           On May 3, 2018, the plaintiff alleges that The

Washington Times, a publication of The Washington Times, LLC,

published an article by Ben Wolfgang in which Wolfgang writes

that the West Virginia Republican primary “also includes former

Massey Energy CEO and convicted felon Don Blankenship.”            See

Compl. ¶ 162.    The plaintiff asserts that The Washington Times

and Wolfgang knew that the statement was false because The

Washington Times had reported a few weeks prior that the

plaintiff had served a year in prison for a misdemeanor

conviction.     See id. ¶ 163.    The plaintiff further asserts that

The Washington Times and Wolfgang published the statement with

malicious intent as part of a coordinated effort to defeat the

plaintiff’s candidacy.      See id.


           On May 16, 2018, the plaintiff alleges that The

Washington Times published an opinion article stating that: “The

state’s Republican primary pitted the state attorney general, a

congressman, and a convicted felon against each other.            The

felon, Don Blankenship, did prison time for his role in a coal-

mining disaster that killed 29 persons, and he would likely have

been a disastrous nominee.”       See id. ¶ 205.     The defendants

filed a motion to dismiss pursuant to Rule 12(b)(2) as to both




                                      56
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 57 of 80 PageID #: 4206



The Washington Times, LLC and Wolfgang, and pursuant to Rule

12(b)(6).   ECF No. 238.


            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over the

defendants because none of them is domiciled in West Virginia.

The court also lacks specific jurisdiction over both defendants

because the “general thrust and content” of their statements was

not focused on West Virginia, and their statements were not

published online with the manifest intent of targeting a West

Virginia audience.     In contrast to Calder v. Jones, the

plaintiff here is not the main subject of the articles and there

is no evidence showing that the defendants targeted West

Virginia or that The Washington Times has a significantly high

circulation or distribution in West Virginia.          In fact, there is

no evidence that The Washington Times website directs electronic

activity into West Virginia or that it intentionally targets a

West Virginia audience with its content.         The allegedly

defamatory statements were stray comments in news articles about

national political issues aimed at a national audience.            It

would not be reasonable for these defendants to anticipate being

haled into a West Virginia court on the basis of these comments.

The court therefore grants the defendants’ motion to dismiss for

lack of personal jurisdiction.


                                     57
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 58 of 80 PageID #: 4207



      J.   The Daily Beast Company, LLC and Gideon Resnick (ECF
           Nos. 253, 258)


           On May 8, 2018, The Daily Beast Company, LLC (“The

Daily Beast”) published an article online by Gideon Resnick

reviewing primary campaigns in Indiana, Ohio, and West Virginia.

See ECF No. 256 at 34.      The article states that: “West Virginia

Republicans could choose a felon who was responsible for the

death of 29 miners to be their candidate for the U.S. Senate.”

Compl. ¶ 188.


           The defendants filed motions to dismiss pursuant to

Rule 12(b)(2) as to both The Daily Beast and Resnick, ECF No.

253, and pursuant to Rule 12(b)(6) as to both as well, ECF No.

258. 16


           (1)   Personal Jurisdiction


           The court lacks general jurisdiction over The Daily

Beast and Gideon Resnick because neither of them is domiciled in

West Virginia.    The court also lacks specific jurisdiction over




16Defendants Daily News L.P.; Los Angeles Times Communications,
LLC; The National Journal Group LLC; Cathleen Decker; Nicole
Hensley, Josh Kraushaar, and David Martosko join in these
motions for dismissal based on separate alleged defamatory
statements. Capitol Hill Publishing, Inc. and Jen Kerns are
listed as defendants and parties to these motions as well, but
they were terminated from this suit pursuant to a court order.
See ECF No. 307.


                                     58
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 59 of 80 PageID #: 4208



these defendants because there is no evidence that their

statement was published online with the manifest intent of

targeting a West Virginia audience.        The allegations support the

conclusion that The Daily Beast website does not direct

electronic activity into West Virginia.         To the extent that the

website can be considered to target West Virginia, the

statistics of website usage in West Virginia show that any

“targeting” is de minimis, especially with regard to the small

number of West Virginia users who actually read the article. 17

It would not be reasonable for these defendants to anticipate

being haled into a West Virginia court on the basis of their

statement in the article.      The court therefore grants the motion

to dismiss for lack of personal jurisdiction as to The Daily

Beast and Gideon Resnick.


     K.    Daily News L.P. and Nicole Hensley (ECF Nos. 253, 258)


           On May 8, 2018, Daily News L.P. 18 published an article

by Nicole Hensley stating that: “Blankenship, a convicted felon,




17The Daily Beast reports that users of its website from West
Virginia accounted for 0.17% of total users during the month in
which the article was published. See ECF No. 253-2 ¶ 12. In
West Virginia, only six (6) users viewed the article as of
August 16, 2019, which accounts for 0.9% of the total user
traffic to the article. See id. ¶ 16.
18Daily News L.P. was substituted for Tribune Publishing
Company, LLC as a defendant in this suit. See ECF No. 194.


                                     59
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 60 of 80 PageID #: 4209



conceded the Republican primary to State Attorney General

Patrick Morrisey.”     Compl. ¶ 186.      The defendants filed motions

to dismiss pursuant to Rule 12(b)(2) as to both Daily News L.P.

and Hensley, ECF No. 253, and pursuant to Rule 12(b)(6) as to

both as well, ECF No. 258.


            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over Daily News

L.P. and Nicole Hensley because neither of them is domiciled in

West Virginia.    The court also lacks specific jurisdiction over

these defendants because their statement was not published

online with the manifest intent of targeting a West Virginia

audience.   The factual allegations support the conclusion that

the Daily News L.P. website does not direct electronic activity

into West Virginia.     The statistics of website usage in West

Virginia further show that any “targeting” is de minimis,

especially with regard to the small number of West Virginia

users who actually read the article. 19       The court therefore




19Daily News L.P. reports that users of its website from West
Virginia accounted for 0.17% of total users during the month in
which the article was published. See ECF No. 253-3 ¶ 19. Only
thirty (30) users located in West Virginia viewed the article as
of July 2019, which accounts for 0.27% of the total user traffic
to the article. See id. ¶ 22.


                                     60
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 61 of 80 PageID #: 4210



grants the motion to dismiss for lack of personal jurisdiction

as to Daily News L.P. and Nicole Hensley.


     L.    Los Angeles Times Communications, LLC and Cathleen
           Decker (ECF Nos. 253, 258)


           On May 8, 2018, Los Angeles Times Communications, LLC

(“the Los Angeles Times”) published an online article by

Cathleen Decker in which Decker refers to “Don Blankenship, a

wealthy felon.”     Compl. ¶ 181.    The defendants filed motions to

dismiss pursuant to Rule 12(b)(2) as to both the Los Angeles

Times and Decker, ECF No. 253, and pursuant to Rule 12(b)(6) as

to both as well, ECF No. 258.


           (1)    Personal Jurisdiction


           The court lacks general jurisdiction over The Los

Angeles Times and Cathleen Decker because neither of them is

domiciled in West Virginia.       The court also lacks specific

jurisdiction over these defendants because there is no evidence

that their statement was published online with the manifest

intent of targeting a West Virginia audience.          The allegations

support the conclusion that The Los Angeles Times website does

not direct electronic activity into West Virginia.           The

statistics of website usage in West Virginia show that any

“targeting” is de minimis, especially with regard to the small



                                     61
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 62 of 80 PageID #: 4211



number of West Virginia users who actually read the article. 20

Again, the plaintiff fails to allege specific facts to establish

personal jurisdiction by a preponderance of the evidence.             The

court grants the motion to dismiss for lack of personal

jurisdiction as to the Los Angeles Times and Cathleen Decker.


     M.     The National Journal Group LLC and Josh Kraushaar (ECF
            Nos. 253, 258)


            On April 10, 2018, the plaintiff alleges that The

National Journal Group, LLC published an article by John

Kraushaar stating that: “Republicans have been concerned that

they could blow a winnable race against Sen. Joe Manchin of West

Virginia if a convicted felon (Don Blankenship) ends up as their

nominee.”   Compl. ¶ 154.     The defendants filed motions to

dismiss pursuant to Rule 12(b)(2) as to both The National

Journal Group, LLC and Kraushaar, ECF No. 253, and pursuant to

Rule 12(b)(6) as to both as well, ECF No. 258.




20The Los Angeles Times reports that its primary readership is
in California. See ECF No. 253-4 ¶¶ 4, 7. It also reports that
users of its website from West Virginia accounted for 0.1% of
total users in the month when the article was published. See
id. ¶ 18. Only forty-eight (48) West Virginia users viewed the
article as of August 15, 2019, which accounts for 1.1% of the
total user traffic to the article. See id. ¶ 20.


                                     62
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 63 of 80 PageID #: 4212



           (1)    Personal Jurisdiction


           National Journal Group, LLC is the publisher of a

website and print publication that provides news coverage,

commentary, and analysis on national political and policy issues

for a Washington, D.C. audience of government affairs

professionals.    ECF No. 253-5 ¶¶ 6-7.       No copies of the print

publication were delivered outside the Washington, D.C.

metropolitan areas in 2018 or 2019.         See id. ¶¶ 13-17.     Articles

published on the website are available free of charge for seven

days, after which the content is only available to paying

subscribers.     Id. ¶ 9.   The website had at most ten (10)

subscribers in West Virginia between April 2018 and July 2019,

including two universities and five staff members of a West

Virginia Congressman.       See id. ¶ 10.    National Journal Group,

LLC reports that users of the website from West Virginia

accounted for 0.20% of total users during the month in which the

article was published.      See id. ¶ 11.     Only fifteen (15) users

located in West Virginia viewed the article as of April 2019,

which accounts for 0.20% of the total user traffic to the

article.   See id. ¶ 19.     Fourteen of those fifteen users viewed

the article during the initial window when the article was

available free of charge.      Id.




                                     63
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 64 of 80 PageID #: 4213



            The court lacks general jurisdiction over both

defendants because neither of them is domiciled in West

Virginia.   The court also lacks specific jurisdiction over these

defendants because the factual allegations clearly support the

conclusion that the National Journal Group, LLC does not direct

electronic activity into West Virginia.         In fact, National

Journal Group, LLC almost exclusively targets audiences in the

Washington, D.C. metropolitan area.        The court therefore grants

the motion to dismiss for lack of personal jurisdiction as to

National Journal Group, LLC and Josh Kraushaar.


     N.     David Martosko (ECF Nos. 253, 258)


            On May 11, 2018, David Martosko published an article

on the Daily Mail website, which states that: “Morrisey

prevailed in a nasty Republican primary this week that included

convicted felon Don Blankenship, whose comments about

'Chinapeople' drove voters to abandon him.” 21         Compl. ¶ 201; ECF

No. 253-10 ¶ 6.     Martosko filed motions to dismiss pursuant to

Rule 12(b)(2), ECF No. 253, and pursuant to Rule 12(b)(6), ECF

No. 258.




21The defendant Daily Mail and General Trust PLC (“Daily Mail”)
was terminated from this suit pursuant to a court order. See
ECF No. 389.



                                     64
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 65 of 80 PageID #: 4214



           (1)   Personal Jurisdiction


           The court lacks general jurisdiction over David

Martosko because he is not domiciled in West Virginia.            The

court also lacks specific jurisdiction over Martosko because

there is no evidence that the statement was published online

with the manifest intent of targeting a West Virginia audience. 22

The plaintiff fails to present any specific factual allegations

with regard to jurisdiction over Martosko.          The plaintiff merely

asserts the same general arguments and conclusions.           The court

therefore grants the motion to dismiss for lack of personal

jurisdiction as to David Martosko.


     O.    American Broadcasting Companies, Inc. (ECF No. 258)


           On July 24, 2018, American Broadcasting Companies, Inc

(“ABC”) posted the following tweet to its Twitter account

@ABCPolitics: “Don Blankenship, the former coal baron and




22Martosko alleges that the DailyMail.com has its largest U.S.
readership in states with larger populations, with only a “tiny
fraction” in West Virginia. See ECF No. 253-10 ¶ 9.


                                     65
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 66 of 80 PageID #: 4215



convicted felon . . . .” 23     Compl. ¶ 215; ECF No. 261-1 at 2.

ABC filed a motion to dismiss pursuant to Rule 12(b)(6).            ECF

No. 258.


           The plaintiff’s allegations are sufficient at this

stage to create a “plausible inference” that ABC posted the

tweet with actual malice.      The plaintiff’s conviction is a

matter of public record, which ABC should be aware to consult.

Drawing reasonable inferences in favor of the plaintiff, the

court finds that the plaintiff alleges enough facts to raise a

reasonable expectation that discovery will reveal evidence of

alleged wrongdoing.     The motion to dismiss is denied as to ABC.


     P.    Mediaite, LLC and Tamar Auber (ECF No. 292)


           On May 3, 2018, Mediaite, LLC published an article by

Tamar Auber about the plaintiff’s campaign advertisement.             See

ECF No. 293 at 3.     Auber writes that: “The convicted felon

turned Senate hopeful then tried to defend the whole thing by



23The plaintiff also alleges that, on July 24, 2018, Frontrunner
published an article quoting an ABC News Article with the phrase
“convicted felon.” See Compl. ¶ 217. Frontrunner is not a
named defendant. The plaintiff does not clarify whether the
phrase “convicted felon” is attributed to Frontrunner or ABC.
To the extent that the plaintiff attributes this statement to
ABC, the plaintiff does not provide a copy of the Frontrunner
article or any information about the ABC article. The
allegation is therefore insufficient to allege a claim against
ABC. The plaintiff does not pursue this claim in his response
to the motion to dismiss. See ECF No. 332 at 13-15.


                                     66
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 67 of 80 PageID #: 4216



claiming he was an ‘Americanperson’ during the Fox News debate

on Tuesday, adding there are also ‘Koreanpersons’ and

‘Africanpersons.’”     See Compl. ¶ 164; ECF No. 293 at 3.         The

defendants filed a motion to dismiss pursuant to Rule 12(b)(2)

for lack of personal jurisdiction as to both defendants, and

pursuant to Rule 12(b)(6) for failure to state a claim for both

defendants.    ECF No. 292.


             (1)   Personal Jurisdiction


             In addition to the general arguments against these

defendants, the plaintiff argues that the content of the

Mediaite, LLC website aims specifically at a West Virginia

audience based on approximately 484 references to West Virginia

on the website, including stories only relevant to a West

Virginia audience and approximately 114 pages that mention the

plaintiff.    See ECF No. 341 at 21.


             The court lacks general jurisdiction over the

individual defendants because neither of them is domiciled in

West Virginia.     However, the court finds that the plaintiff

establishes a prima facie case for personal jurisdiction over

the defendants by a preponderance of the evidence.           The

allegations demonstrate that the “general thrust and content” of

the article was focused on West Virginia.          Unlike many of the



                                     67
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 68 of 80 PageID #: 4217



other statements in this suit, the plaintiff is the main subject

of this article and was not a stray reference in a longer

article about national politics.          The content of the Mediaite,

LLC website, as alleged by the plaintiff, also provides evidence

that the defendants targeted a West Virginia audience for at

least some of their content.       The strength of this evidence is

weak since the plaintiff does not explain what percentage the

West Virginia content represents of the website’s overall

content or over what period of time this content was published.

Despite this weakness, the West Virginia content on the website

combined with the focus of the article solely on West Virginia

politics supports a finding of personal jurisdiction by a

preponderance of the evidence.


           (2)   Failure to State a Claim


           The plaintiff’s allegations are sufficient to create a

“plausible inference” that the defendants published their

statements with actual malice.       The article quotes the plaintiff

from the debate on May 1, 2018, the same event at which the

plaintiff emphasized that his conviction was for a misdemeanor.

It is therefore plausible to infer that the defendants knew

their statement was false based on their reporting of the very

event in which the plaintiff confirmed the truth of his




                                     68
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 69 of 80 PageID #: 4218



conviction, or that the defendants recklessly disregarded the

truth from that event.      The motion to dismiss is denied.


     Q.     Breitbart News Network, LLC and Michael Patrick Leahy
            (ECF No. 351)


            On May 10, 2018, the plaintiff alleges that Breitbart

News Network, LLC (“Breitbart News”), a national news website,

published an article by Michael Patrick Leahy in which Leahy

thrice describes the plaintiff as a “convicted felon.”            See

Compl. ¶ 198.     The defendants filed a motion to dismiss pursuant

to Rule 12(b)(2) as to both defendants, and pursuant to Rule

12(b)(6).   ECF No. 351.


            (1)   Personal Jurisdiction


            The court lacks general jurisdiction over both

defendants because neither of them is domiciled in West

Virginia.   The court also lacks specific jurisdiction over these

defendants because the plaintiff does not allege enough factual

information to meet his burden of establishing personal

jurisdiction over each defendant.         The plaintiff’s complaint

only alleges three stray references to the plaintiff as a

“convicted felon.”     No information is provided about the context

of those remarks or the subject of the article in which they

appear.   There is no information to determine whether the



                                     69
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 70 of 80 PageID #: 4219



“general thrust and content” of the statements was focused on

West Virginia, or whether the defendants regularly engage in

conduct to target a West Virginia audience.


             The plaintiff provides statistical information about

the number of references to West Virginia and the plaintiff on

the Breitbart News website, which the court accepts for this

purpose as true.     See ECF No. 358 at 12 (reporting 2,220

references to West Virginia on the website, including stories

only relevant to a West Virginia audience and approximately 42

pages that mention the plaintiff).        However, the plaintiff errs

by omitting what percentage of the website these references

represent.    Any national news website would naturally have

content that references a particular state, but the percentage

of the overall content is necessary to determine how much the

website targets the audience of that state.          Cf. Calder 465 U.S.

at 785-90 (discussing the magazine circulation in California

compared to other states).       Based on the sparse information

provided, the plaintiff fails to establish personal jurisdiction

by a preponderance of the evidence.        The court therefore grants

the defendants’ motion to dismiss for lack of personal

jurisdiction.




                                     70
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 71 of 80 PageID #: 4220



     R.    J.W. Williamson & WataugaWatch (ECF Nos. 42, 391, 393)


           The plaintiff alleges three defamatory publications by

the defendants WataugaWatch and Jerry Wayne (“J.W.”) Williamson.

On April 15, 2018, WataugaWatch posted an article about the

plaintiff, which states that: “[W]ith the scary upstart being a

recent felon who presided over a coal company that lied about

the deaths of 29 coal miners, one Don Blankenship, who's

notorious in West Virginia without necessarily being electable.”

See Compl. ¶ 155; ECF No. 392 at 1-2.         Williamson asserts that

the use of “felon” was intended to mean “someone who has served

time in jail.”    ECF No. 392 at 2.


           On May 7, 2018, WataugaWatch posted an article about

several state primary elections, which opines that: “Holy crap!

Democratic incumbent Joe Manchin has been considered the most

endangered Democrat in the US Senate, but the Republican voters

in their primary tomorrow may grant him a reprieve . . . if they

choose felon coal baron Don Blankenship to run against him.”

Compl. ¶ 180; ECF No. 392 at 2.


           On July 24, 2018, the plaintiff alleges that

WataugaWatch published an article stating that: “Blankenship, a

felon coal mine operator who came in third (last) on May 8th in

the Republican primary for US Senate, makes it a habit to stick

his thumb in the establishment's eye.”         Compl. ¶ 216.


                                     71
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 72 of 80 PageID #: 4221



             Williamson filed pro se a combined answer with

numerous affirmative defenses, motion to dismiss, and motion for

sanctions on June 19, 2019. 24     See ECF No. 42.      Williamson later

filed a separate motion to dismiss pursuant to Rule 12(b)(2) and

Rule 12(b)(6).     See ECF Nos. 391, 392.      Williamson also filed an

amended motion to dismiss, asserting the same grounds for

dismissal.    See ECF No. 393.


             (1)   Personal Jurisdiction


             J.W. Williamson is the owner and sole author of the

political blog site WataugaWatch.         ECF No. 391-1 ¶¶ 1, 2.

WataugaWatch is not incorporated and does not otherwise

constitute a legal entity separate from Williamson who uses

WataugaWatch as a blog to publish his own articles on cultural

news and opinions on political and cultural topics.           See id.

¶¶ 2, 5.   Williamson uses WataugaWatch to express an interest in

Appalachian regional politics.       See ECF No. 392 at 1.


             The court lacks general jurisdiction over the

defendant because he is not domiciled in West Virginia.

However, the court finds that the plaintiff establishes a prima




24Documents filed pro se are “to be liberally construed,” and
“must be held to less stringent standards than formal pleadings
drafted by lawyers.” Erickson v. Pardus, 551 U.S. at 94 (citing
Estelle v. Gamble, 429 U.S. 97, 106 (1976)).


                                     72
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 73 of 80 PageID #: 4222



facie case for personal jurisdiction over Williamson by a

preponderance of the evidence.       Williamson admits that the

content of his blog focuses on Appalachian regional politics and

that the articles about the plaintiff were “in the context of

issues in national politics, directed at a regional audience.”

See ECF No. 392 at 1, 8.      The Appalachian region includes West

Virginia, so a West Virginia audience is necessarily part of an

Appalachian “regional audience.”          The allegations therefore

demonstrate that the “general thrust and content” of the article

was more likely than not aimed toward West Virginia.


           (2)   Failure to State a Claim


           The plaintiff’s allegations are sufficient to create a

plausible inference that Williamson published his articles with

actual malice.    As a blogger, Williamson cannot reasonably be

held to the same “accepted standard” as corporate newspapers.

However, the standard for actual malice does not vary based on

whether the defendant is a public figure or corporation.            The

potential reach and impact of Williamson’s alleged defamation

may not be as impactful as defendants with nationwide audiences,

but such a determination is for the finder of fact and not for

the court to assess at the motion-to-dismiss stage.           Based on

the three publications and drawing reasonable inferences in

favor of the plaintiff, the court finds that the plaintiff


                                     73
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 74 of 80 PageID #: 4223



alleges enough facts to raise a reasonable expectation that

discovery will reveal evidence of alleged wrongdoing.            The

motion to dismiss is denied.


           (3)    Rule 11 Sanctions


           By submitting a pleading to the court, a party

certifies “that to the best of the person's knowledge,

information, and belief, formed after an inquiry reasonable

under the circumstances,” four conditions are true: (1) the

pleading is not presented for an improper purpose (e.g., to

harass, cause unnecessary delay), (2) the claims and defenses

are warranted by existing law, (3) the factual allegations have

evidentiary support or will likely have evidentiary support

after a reasonable opportunity for further investigation or

discovery, and (4) denials of factual allegations are warranted

on the evidence or are reasonably based on belief or a lack of

information.     See Fed. R. Civ. P. 11(b).

           The court, after notice and a reasonable opportunity

to respond, may impose an appropriate sanction on a party that

the court determines has violated Rule 11(b) or is responsible

for the violation.     Fed. R. Civ. P. 11(c)(1).       A motion for Rule

11 sanctions has three mandatory requirements: (1) the motion

must be made separately from any other motion, (2) the motion

must describe the specific conduct that allegedly violates Rule


                                     74
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 75 of 80 PageID #: 4224



11, and (3) before filing the motion with the court, the movant

must serve the offending party and allow a “safe harbor” period

of twenty-one (21) days -- or another time that the courts sets

-- for the offending party to withdraw or correct the challenged

pleading.   See Fed. R. Civ. P. 11(c)(2); Brickwood Contractors,

Inc. v. Datanet Eng'g, Inc., 369 F.3d 385, 389 (4th Cir. 2004).

            As part of his answer filed pro se, defendant

Williamson requests sanctions pursuant to Rule 11.           See ECF No.

42 at 1, 9.    Williamson does not meet the requirements for a

Rule 11 motion for sanctions because he does not file the motion

separate from any other motion, and he does not describe any of

the specific conduct that is alleged to violate Rule 11.

Although the court generally provides more leniency to pro se

parties, the requirements under Rule 11 are mandatory for all

parties regardless of representation and they are clearly

outlined in the Federal Rules of Civil Procedure, to which

Williamson cites in his answer/motion.         Williamson’s request for

sanctions is therefore denied.




                                     75
Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 76 of 80 PageID #: 4225



                            V.    Conclusion


          For the foregoing reasons, it is ORDERED that:


    (1)   The motion to dismiss by CNN, Sarah Elizabeth Cupp,

          and Joe Lockhart (ECF No. 195) be, and it hereby is

          granted as to Cupp and Lockhart, and denied as to CNN;

          and Cupp and Lockhart be, and they hereby are,

          dismissed from this suit;


    (2)   The motion to dismiss by WP Company LLC, Josh Dawsey,

          Jenna Johnson, Dana Milbank, and Amber Phillips (ECF

          No. 197) be, and it hereby is granted as to Dawsey,

          Johnson, Milbank, and Phillips, and denied as to WP

          Company LLC; and Dawsey, Johnson, Milbank, and

          Phillips be, and they hereby are, dismissed from this

          suit;


    (3)   The motions to dismiss by Eli Lehrer (ECF No. 205) and

          by the Charleston Gazette-Mail (ECF No. 242) be, and

          they hereby are, denied;




                                    76
Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 77 of 80 PageID #: 4226



    (4)   The motions to dismiss by Fox News, Bradley Blakeman,

          Neil Cavuto, Stephanie Hamill, John Layfield,

          Elizabeth Macdonald, and Andrew Napolitano (ECF Nos.

          211, 216) be, and they hereby are, granted as to

          Blakeman, Cavuto, Hamill, Layfield, Macdonald, and

          Napolitano, and denied as to Fox News; and Blakeman,

          Cavuto, Hamill, Layfield, Macdonald, and Napolitano

          be, and they hereby are, dismissed from this suit;


    (5)   The motion to dismiss by MSNBC, NBCUniversal, CNBC,

          Leigh Ann Caldwell, Chris Hayes, Joy Ann Lomena-Reid,

          and Brian Schwartz (ECF No. 220) be, and it hereby is,

          granted as to NBCUniversal, CNBC, Caldwell, Hayes,

          Lomena-Reid, and Schwartz, and denied as to MSNBC;

          Caldwell, Hayes, Lomena-Reid, and Schwartz be, and

          they hereby are, dismissed from this suit; and

          NBCUniversal and CNBC be, and they hereby are,

          dismissed from this suit without prejudice;


    (6)   The motion to dismiss by News and Guts, LLC (ECF No.

          226) be, and it hereby is, denied;


    (7)   The motion to dismiss by the National Republican

          Senatorial Committee (ECF No. 228) be, and it hereby

          is, denied;




                                    77
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 78 of 80 PageID #: 4227



     (8)   The motion to dismiss by Kevin McLaughlin (ECF No.

           236) be, and it hereby is, granted; and the defendant

           be, and he hereby is, dismissed from this suit;


     (9)   The motion to dismiss by FiscalNote, Inc. and Griffin

           Connolly (ECF No. 234) be, and it hereby is, denied;


     (10) The motion to dismiss by The Washington Times, LLC and

           Ben Wolfgang (ECF No. 238) be, and it hereby is,

           granted; and the defendants be, and they hereby are,

           dismissed from this suit;


     (11) The motion to dismiss under Rule 12(b)(2) by The Daily

           Beast, Daily News L.P., the Los Angeles Times, The

           National Journal Group, Cathleen Decker, Nicole

           Hensley, Josh Kraushaar, David Martosko, and Gideon

           Resnick (ECF No. 253) be, and it hereby is, granted;

           and the defendants be, and they hereby are, dismissed

           from this suit;


     (12) The motion to dismiss under Rule 12(b)(6) by ABC and

           other defendants 25 (ECF No. 258) be, and it hereby is,

           denied as to ABC;




25These defendants were dismissed as part of ECF No. 253 for
lack of personal jurisdiction.


                                     78
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 79 of 80 PageID #: 4228



     (13) The motion to dismiss by Mediaite, LLC and Tamar Auber

           (ECF No. 292) be, and it hereby is, denied;


     (14) The motion to dismiss by Breitbart News and Michael

           Patrick Leahy (ECF No. 351) be, and it hereby is,

           granted; and the defendants be, and they hereby are,

           dismissed from this suit;


     (15) The motions to dismiss by J.W. Williamson &

           WataugaWatch (ECF Nos. 42, 391, 393) be, and they

           hereby are, denied.


           In addition, it is ORDERED that the following motions

be, and they hereby are, denied as moot because the defendants

have already been dismissed pursuant to other court orders:


     (1)   The motion to dismiss by Mike Argento (ECF No. 181);


     (2)   The motion to dismiss by TheHuffingtonPost.com, Inc.

           and Michelangelo Signorile (ECF No. 200);


     (3)   The motion to dismiss by Andrew Feinberg and Breakfast

           Media, LLC (ECF No. 210);


     (4)   The motion to dismiss by Dan Rather (ECF No. 224); and




                                     79
 Case 2:19-cv-00236 Document 398 Filed 03/31/20 Page 80 of 80 PageID #: 4229



     (5)   The motion to dismiss by the Democratic Senatorial

           Campaign Committee, Lauren Passalacqua, Ben Ray, David

           Bergstein, Courtney Rice, and Justin Lavoie (ECF No.

           254).


           Based on the above dismissals, twenty (20) defendants

remain in this suit: 35th Inc.; American Broadcasting Companies,

Inc.; Cable News Network, Inc.; FiscalNote, Inc.; Fox News

Network, LLC; Hayride Media, LLC; Mediaite, LLC; MSNBC Cable

LLC; National Republican Senatorial Committee; News and Guts,

LLC; The Charleston Gazette-Mail; WataugaWatch; WP Company LLC;

Tamar Auber; Griffin Connolly; Jim Heath; Matt Howerton; Chris

Jones; Eli Lehrer; and J. W. Williamson.


           The Clerk is directed to transmit copies of this

memorandum opinion and order to all counsel of record.


                                          ENTER: March 31, 2020




                                     80
